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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 HON. PAULINE NEWMAN,

                    Plaintiff,                     Case No. 1:23-cv-01334-CRC

          v.

 HON. KIMBERLY A. MOORE, et al.,

                    Defendants.


                                         NOTICE
       Out of an abundance of caution, Defendants write to address their response to one

question at the January 25, 2024 motions hearing. Specifically, the following exchange ap-

pears in the transcript:

               THE COURT: Just to be clear, if a year from now, or however
               many months from now is left, she still has not complied, the
               Council would have to upset the current status quo somehow in
               order for the suspension to lapse.

               MR. EHRLICH: The Judicial Council would have to take some
               action.
               THE COURT: Yes.
See Jan. 25 Tr. 64:18–24.

       Although there is some ambiguity in this exchange as transcribed, Defendants did not

intend to suggest that the Judicial Council would need to “take some action” for Judge New-

man’s suspension to lapse. Rather, in context, Defendants intended to confirm that the Judi-

cial Council would need to “take some action” for the suspension to continue beyond the one-

year period stated on the face of the September 20 Order. This is consistent with the discus-

sion elsewhere in the hearing, including immediately preceding the cited exchange. See, e.g.,

id. 63:20–24 (Defendants explaining that “it’s not a forever suspension. It’s a one-year


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renewable suspension depending on what happens with Judge Newman. And the Judicial

Council can reconsider every year whether to take further action or not.”); id. at 64:6–8 (De-

fendants explaining that the suspension is “for one year”); see also Ex. B, September 20 Order

at 72–73, ECF No. 30-1. Nonetheless, Defendants submit this notice out of an abundance of

caution to avoid any potential misimpression from the above-cited exchange.


DATED: January 30, 2024                        Respectfully submitted,

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